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JENNY L. FOLEY, Ph.D., ESQ.

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Attomeyfor Plaintijj”

LARA WARD, an Individual
Plaintiff,

VS.

STATE OF NEVADA, ex rel. its BOARD
OF MEDICAL EXAMINERS, DON
A.NDREAS, an IndividuaiJ PAMELA
CASTAGNOLA, an Individual, KIM
FRIEDMAN, an Individual, KATI
PAYTON, an Individual, TODD RICH, an
Individual AND EDWARD COUSINEAU,
an Individual; DOES I~X.

Defendants.

 

 

outcome of this case.

1. Lara Ward, an Individual;

 

 

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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

CASE NO.:

CERTIFICATE ()F INTERESTED
PARTIES

In accordance With Fed. R. Civ. P. 7.1 and Local Rule 7.1-1 the undersigned counsel
of record for Lara Ward by and through her attorney, Jenny. L. Foley, Ph.D., ESq. of I-IKM

Ernp]oyment Attorneys LLP certifies that the following have a direct, pecuniary interest in the

2. State of Nevada, ex rel. its Board of Medical Examiners, Don Andreas, an
lndividual, Pameia Castagnola, an Individual, Kirn Friedman, an lndividual, Kati

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Payton, an Individual and Edward Cousineau, an Individual.
These representations are made to enable judges of the Court to evaluate possible

disqualifications or recusal

Dated this\g day of Decernber 2017.

HKM EMPLOYMENT ATTORNEYS LLP

Af /l facing g %£

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CERTIFICATE ()F SERVICE

I hereby certify that on this \U\ day ofDecember 2017 I caused to be
served a true and correct copy of the foregoing CERTIFICATE OF INTERESTED
PARTIES on the following persons as folloWs:

X by placing the same for mailing in the United States Mail, in a sealed envelope

_,_._

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on Which first class postage Was prepaid in Las Vegas, Nevada and/or

to be sent via electronic filing With the Clerk of the Court using the Court’s

electronic filing system and serving all parties With an email address of record

Who have agreed to receive Electronic Service in this action

to be hand delivered to the persons and/or addresses beloW:

 

 

 

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Page 3 of 3

 

 

